                       UNITED STATES COURT OF APPEALS
                           FOR THE EIGHTH CIRCUIT

                                            No: 23-2681

                  Dylan Brandt, by and through his mother Joanna Brandt, et al.

                                                      Appellees

                                                 v.

           Tim Griffin, in his official capacity as the Arkansas Attorney General, et al.

                                                      Appellants


______________________________________________________________________________

        Appeal from U.S. District Court for the Eastern District of Arkansas - Central
                                   (4:21-cv-00450-JM)
______________________________________________________________________________

                                              ORDER

       A petition for initial hearing en banc has been filed by the Appellants in the above case.

The court requests a response to the petition for initial hearing en banc.

       The response is limited to 3900 words, and must contain a word count certificate. The

response should be filed electronically by September 21, 2023.

                                                        September 11, 2023




Order Entered at the Direction of the Court:
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans




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